Case 3:12-cr-00918-TWR       Document 149       Filed 03/29/13     PageID.592    Page 1 of 1



    1
                                                                                     I- ..... 8.
                                                                                     •' L
    2
    3

    4

    5
    6
    7
    8
    9
                                      UNITED STATES DISTRICT COURT
   10
                                   SOUTHERN DISTRICT OF CALIFORNIA
   11
        UNITED STATES OF AMERICA,                     )   Criminal Case No. 12-CR-918-BEN
   12                                                 )
                                Plaintiff,            )
   13                                                 )   ORDER DISMISSING INDICTMENT AND
                 v.                                   )   JUDGMENT OF DISMISSAL AGAINST
   14                                                 )   DEFENDANT JAMES T. MICELI AND
        JAMES T. MICELI (1),                          )   ORDER EXONERATING BOND
   15                                                 )
                                Defendant.            )
   16                                                 )
                                                      )
   17
   18          Upon the motion of the United States, IT IS ORDERED that the Indictment be and is hereby
   19   dismissed against Defendant James T. Miceli. Bond is exonerated.
   20

   21   Dated: Marc(.J:{o13
   22
   23
   24
   25

   26
   27
   28
